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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CIVIL MINUTES - GENERAL


Case No.          ED CV 20-0768-TJH(PVCx)                                         Date     JUNE 30, 2020


Title     Kelvin Hernandez Roman et al v. Chad F. Wolf et al


Present: The Honorable             TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE



                  YOLANDA SKIPPER                                              NOT REPORTED
                          Deputy Clerk                                           Court Reporter


                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                            None Present                                         None Present



Proceedings:          IN CHAMBERS-ORDER AND NOTICE TO ALL PARTIES
        Counsel are hereby notified that pursuant to the Judge's directive, the motion to intervene filed by
        proposed intervenors Devora Batres Moreno, Sandra Cervantes Gomez, Pablo Tapia Cruz, Caesar
        Galvan, and Ivan Rene Ledezma (dkt # 135) is STRICKEN for failure to comply with Local Rule 6-
        1. In their motion, proposed intervenors requested a waiver of Local Rule 6-1’s 28 day rule based on
        Local Rules 7.1(a) and e(5), however there are no Local Rules 7.1(a) or e(5).


        Moreover, the motion to intervene was filed today with a hearing date noticed for June 28, 2020 – two
        days ago.


        Additionally, any motions for bail filed by any approved intervenors shall follow the procedure set forth
        in paragraphs 11 through 17 of the Court’s order of June 19, 2020 (dkt # 124).


        IT IS SO ORDERED.

        cc: all parties




        CV-90                                       CIVIL MINUTES - GENERAL            Initials of Deputy Clerk ys
